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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )            8:05CR365
                                                     )
                             Plaintiff,              )
               vs.                                   )             ORDER
                                                     )
JAMES C. HOENSELAAR,                                 )
RENE M. PRIES,                                       )
MATTHEW J. LAYTON, and                               )
AMBERLY D. EDWARDS,                                  )
                                                     )
                             Defendants.             )


       This matter is before the court on Matthew J. Layton’s (Layton) Motion to Continue
Trial (Filing No. 50). Layton has complied with NECrimR 12.3. Upon consideration,
       IT IS ORDERED:
       1.     Layton’s Motion to Continue Trial (Filing No. 50) is granted. The continuation
will be granted as to all defendants in this case.
       2.     Trial of this matter is continued to February 6, 2006 before the Honorable
Joseph F. Bataillon and a jury.
       3.     The ends of justice will be served by granting such motion and outweigh the
interest of the public and the defendants in a speedy trial. Any additional time arising as
a result of the granting of this motion, that is, the time between December 9, 2005, and
February 6, 2006, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act, because of defendant’s counsel being unavailable for
trial because of medical reasons and that defendants’ counsel require additional time to
adequately prepare the case. Failure to deny this motion might result in a miscarriage of
justice. 18 U.S.C. Sec. 3161(h)(8)(A) & (B)(1v).
       Dated this 9th day of December, 2005.
                                                     BY THE COURT:
                                                     s/Thomas D. Thalken
                                                     United States Magistrate Judge
